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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
                                                 )
 In re:                                          )
                                                 )     Case No. 23-60507 (PGR)
 The Roman Catholic Diocese of                   )
 Ogdensburg, New York,                           )     Chapter 11
                                                 )
                        Debtor.                  )
                                                 )

 MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (A) AUTHORIZING THE
  USE OF CASH COLLATERAL, AND (B) GRANTING ADEQUATE PROTECTION

          The Roman Catholic Diocese of Ogdensburg, New York (the “Diocese”), by and through

its undersigned counsel, hereby moves the Court (this “Motion”) for entry of interim and final

orders, in substantially the forms attached hereto as Exhibits A and B respectively, (a) authorizing

the Diocese’s use of cash collateral, and (b) granting adequate protection pursuant to 11 U.S.C. §§

105, 361 and 363. In support of this Motion, the Diocese respectfully represents as follows:

                                         JURISDICTION

          1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

          2.    Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.    This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (M).

          4.    The statutory and rule-based predicates for the relief requested herein are sections

105, 361 and 363 of title 11 of the United States Code (11 U.S.C. § 101 et seq., the “Bankruptcy

Code”) and Rules 4001 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”).

                                         BACKGROUND

          5.    On July 17, 2023 (the “Petition Date”), the Diocese filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code with the United States Bankruptcy Court for the




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Northern District of New York (the “Court”), commencing the Diocese’s chapter 11 case (this

“Chapter 11 Case”). The Diocese continues to operate its business and manage its properties as a

debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request

for a trustee or examiner has been made in this Chapter 11 Case, and as of the date of this filing,

no official committees have been appointed or designated.

        6.     Information regarding the Diocese’s history, business operations and structure, and

the events leading up to this Chapter 11 Case is set forth in the Declaration of Rev. Kevin O’Brien

Regarding Structure and Pre-Filing History of The Diocese and in Support of the Chapter 11

Petition and First Day Pleadings and the Declaration of Mark Mashaw Regarding the Diocese’s

Assets and Operations and in Support of the Chapter 11 Petition and First Day Pleadings, filed

contemporaneously herewith and incorporated herein by reference.

        7.     The Diocese does not, by filing its petition for relief and other documents in this

bankruptcy case, waive any of its rights under any applicable law, including, without limitation,

the Code of Canon law, the First Amendment of the United States Constitution, the Constitution

for the State of New York, the Religious Freedom Restoration Act, the church autonomy doctrine,

charitable trust law, New York trust law, and the rights to object to disclosure of information and

to contend that certain assets discussed in the Motion are not property of the estate.

                      STATEMENT PURSUANT TO RULE 4001(b)(1)(B)

        8.     The Diocese provides the following summary of the material provisions of this

Motion pursuant to Bankruptcy Rule 4001(b)(1)(B):

               (i)     The creditor who has an interest in the Cash Collateral is NBT Bank,
                       National Association (“NBT”). See ¶ 9-10.

               (ii)    The Diocese is seeking authorization to use Cash Collateral to pay employee
                       wages and other operating and/or administrative expenses incurred in this
                       Chapter 11 Case, as well as and such other payments as may be authorized
                       by the Court by separate order. See ¶¶ 11, 13.
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                (iii)    The Diocese is seeking interim authorization to use Cash Collateral through
                         August 15, 2023 and continued use of Cash Collateral pursuant to the Final
                         Order (as defined herein). See ¶¶ 18-22.

                (iv)     In order to adequately protect NBT’s interest in the Cash Collateral, the
                         Diocese is proposing to grant NBT rollover liens as described herein. See
                         ¶¶ 16-17.

               THE DIOCESE’S PREPETITION SECURED INDEBTEDNESS

        9.      As of the Petition Date, the Diocese is indebted to NBT pursuant to the following

transactions and documents:

                (i)      Letter of Credit Application and Agreement, together dated as of November
                         9, 2020 (the “NBT LOC Agreement”), pursuant to which NBT made
                         available to the Diocese a $1,950,707 Letter of Credit (the “NBT Letter of
                         Credit”) issued by NBT to the New York State Worker’s Compensation
                         Board (the “WCB”) to secure the Diocese’s obligations under its self-
                         insured worker’s compensation program;1 and

                (ii)     Specific Security Agreement (Pledged Account) dated as of November 9,
                         2020 (the “NBT Pledge Agreement”), pursuant to which the Diocese
                         pledged all of its property in the possession of, or subject to the control of
                         NBT including, without limitation, its interest in approximately $2.3 million
                         of securities held in a blocked investment account at NBT (the “Blocked
                         NBT Account”), to secure its obligations to repay NBT for any amounts
                         drawn on the NBT Letter of Credit.

        10.     The NBT LOC Agreement, NBT Letter of Credit, and NBT Pledge Agreement are

collectively referred to herein as the “Prepetition Debt Documents” and the securities held in the

Blocked NBT Account, as well as any cash or other collateral subject to NBT’s lien under the

Prepetition Debt Documents, are collectively referred to in this Motion as the “Prepetition

Collateral.”




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   As of the date of this Motion, the WCB has made no attempt to draw upon the NBT Letter of Credit and, upon
information and belief, there exists no cause for the WCB to do so.
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                                       RELIEF REQUESTED

         11.      The Diocese seeks to use cash and securities (other than cash or securities held in

the Blocked NBT Account) existing on or after the Petition Date that may be part of the Prepetition

Collateral (the “Cash Collateral”). Additionally, the Diocese seeks the ability to continue to

manage its investments in the Blocked NBT Account in accordance with its prepetition practices

and the Prepetition Debt Documents, and to provide NBT with adequate protection of its respective

interests in the Prepetition Collateral by providing rollover liens. Accordingly, the Diocese hereby

requests that the Court grant the following relief:

                  (i)     authorize the Diocese, pursuant to section 363(c) of the Bankruptcy Code,
                          to use Cash Collateral to make payments and operate its business in the
                          ordinary course, consistent with its prepetition practices, to pay
                          administrative expenses incurred in this Chapter 11 Case, and to make such
                          other payments as may be authorized by the Court by separate order;

                  (ii)    authorize the Diocese, pursuant to section 105(a) and 363(c) of the
                          Bankruptcy Code, to continue to manage its investments held in the Blocked
                          NBT Account, in accordance with its prepetition practices and the
                          Prepetition Debt Documents; and

                  (iii)   authorize the Diocese, pursuant to sections 361 and 363(e) of the
                          Bankruptcy Code, to provide adequate protection to NBT in the form of
                          replacement liens.

                                        BASIS FOR RELIEF

    A.         The Diocese Has an Immediate Need to Use Cash Collateral

         12.      The Diocese has an urgent need to use Cash Collateral. Many of the Diocese’s

bank accounts are held with NBT, including its general operating account (the “Operating

Account”). Accordingly, in addition to the liens granted to NBT pursuant to the Prepetition Debt

Documents, NBT also has a possessory lien on all funds held in NBT bank accounts.

         13.      As described more fully in the Diocese’s motion seeking entry of an order

authorizing the continued maintenance of its bank accounts which was filed contemporaneously

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herewith, the Diocese relies upon its Operating Account to collect accounts receivable and to fund

the majority of its disbursements, including for payroll, vendor and utility payments, and other

expenses. Because the majority of the Diocese’s unrestricted funds are held at NBT, absent the

ability to use Cash Collateral, the Diocese would not be able to pay wages, utility charges, and

other business and operating expenses critical to carrying out the Diocese’s mission.

    B.         The Interests of NBT Are Adequately Protected

         14.      Pursuant to section 363(c)(2) of the Bankruptcy Code, a debtor in possession may

only use “cash collateral” with the consent of the secured party with an interest therein or court

approval. See 11 U.S.C. § 363(c)(2). Section 363(e) of the Bankruptcy Code further provides

that, upon request of an entity that has an interest in property used, sold or leased by a debtor, the

court shall prohibit or condition the use of such property as is necessary to provide adequate

protection of such entity’s interest. See 11 U.S.C. § 363(e).

         15.      Appropriate adequate protection is decided on a case-by-case basis. See e.g., In re

Snowshoe Co., 789 F.2d 1085, 1088 (4th Cir. 1986); In re Mosello, 195 B.R. 277, 289 (Bankr.

S.D.N.Y. 1996); In re Beker Indus. Corp., 58 B.R. 725 (Bankr. S.D.N.Y. 1986); see also In re JKJ

Chevrolet, Inc., 190 B.R. 542, 545 (Bankr. E.D. Va. 1995) (adequate protection is a flexible

concept that is determined by considering the facts of each case) (citing In re O’Connor, 808 F.2d

1393, 1396-97 (10th Cir. 1987)). Although adequate protection is not defined in the Bankruptcy

Code, section 361 of the Bankruptcy Code provides the following three (3) nonexclusive examples

of what may constitute adequate protection:

                         (1)      requiring the [debtor] to make a cash payment or
                         periodic cash payments to such entity, to the extent that the
                         ... use ... under section 363 ... results in a decrease in the
                         value of such entity’s interest in such property;



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                       (2)     providing to such entity an additional or replacement
                       lien to the extent that such ... use ... results in a decrease in
                       the value of such entity’s interest in such property; or

                       (3)     granting such other relief ... as will result in the
                       realization by such entity of the indubitable equivalent of
                       such entity’s interest in such property.

11 U.S.C. § 361. Essentially, with the provision of adequate protection, the Bankruptcy Code

seeks to shield a secured creditor from diminution in the value of its interest in the particular

collateral during the period of use. See In re Hubbard Power & Light, 202 B.R. 680, 685 (Bankr.

E.D.N.Y. 1996); In re 495 Cent. Park Ave. Corp., 136 B.R. 626, 631 (Bankr. S.D.N.Y. 1992);

Beker Indus., 58 B.R. at 736; see also In re Nice, 355 B.R. 554, 563 (Bankr. N.D. Va. 2006)

(“adequate protection is solely a function of preserving the value of the creditor’s secured claim

as of the petition date due to a debtor’s continued use of collateral”).

The Proposed Adequate Protection

        16.    In order to adequately protect any interest NBT may have in the Cash Collateral,

the Diocese proposes to grant NBT, to the extent of any diminution in the value of its interest in

the Prepetition Collateral, and effective as of the Petition Date, perfected replacement security

interests in, and valid, binding, enforceable and perfected liens (the “NBT Rollover Liens”), on all

of the Diocese’s cash, deposit accounts, and investment property in the possession of, or subject

to the control of, NBT, and all proceeds of the foregoing, whether in existence on the Petition Date

or thereafter created, acquired or arising (collectively, the “Postpetition Collateral”) provided,

however, that the Postpetition Collateral shall not include, and the NBT Rollover Liens shall not

attach to, any funds or property held by the Diocese (i) for the purpose of administering its

insurance programs, (ii) in trust for the benefit of parishes or other Catholic entities within the

Diocese, (iii) which represent trust fund taxes or employee payroll deductions, or (iv) which are

endowed funds or subject to donor restrictions on use.
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         17.      Because the value of the Blocked NBT Account is already in excess of NBT’s

potential exposure under the NBT Letter of Credit, and because the WCB has not drawn on the

NBT Letter of Credit, nor is there any reason for the WCB to do so, the Diocese submits that the

proposed NBT Rollover Liens more than adequately protect NBT’s interest in the Cash Collateral.

    C.         Interim Approval Should be Granted

         18.      The Diocese seeks interim approval of the use of Cash Collateral through August

15, 2023 to pay only (i) reasonable and necessary expenses to be incurred in the ordinary course

in connection with the operation of its business and fulfilment of its religious mission,

(ii) administrative expenses incurred in connection with this Chapter 11 Case, and (iii) employee

wages and such other payments as may be authorized by separate order of the Court.

         19.      The Diocese respectfully requests that the Court conduct a preliminary hearing on

this Motion and authorize the Diocese to use Cash Collateral on an interim basis pending a hearing

to consider authorizing such use on a final basis. Interim access to the Cash Collateral will ensure

that the Diocese is able to avoid immediate and irreparable harm at the outset of this Chapter 11

Case.

         20.      Bankruptcy Rule 4001(b)(2) governs the procedures for obtaining approval to use

cash collateral and it provides:

                  The court may commence a final hearing on a motion for
                  authorization to use cash collateral no earlier than 14 days after
                  service of the motion. If the motion so requests, the court may
                  conduct a preliminary hearing before such 14 day period expires,
                  but the court may authorize the use of only that amount of cash
                  collateral as is necessary to avoid immediate and irreparable harm
                  to the estate pending a final hearing.

Fed. R. Bankr. P. 4001(b)(2).




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         21.      After the final hearing, Bankruptcy Rule 4001(b) does not limit the use of cash

collateral solely to those amounts necessary to prevent immediate and irreparable harm to the

estate, and the debtor may use such amounts as it deems prudent in the operation of its business.

Cf. In re Ames Dep’t Stores, Inc., 115 B.R. 34, 36 (Bankr. S.D.N.Y. 1990) (approving at the final

hearing debtor in possession financing in excess of what had been held to be “necessary to avoid

immediate and irreparable harm” at the interim hearing).

         22.      The Diocese submits that, for the reasons set forth herein, immediate access to Cash

Collateral is necessary to allow the Diocese to continue to operate and to preserve the value of the

Diocese’s estate for the benefit of all parties in interest.

    D.         Request for Final Hearing

         23.      Pursuant to Bankruptcy Rule 4001(b)(2), the Diocese requests that the Court

schedule a hearing to consider entry of an order authorizing the use of Cash Collateral on a final

basis (the “Final Order”), and that the Final Order authorize the Diocese to use Cash Collateral in

accordance with its business judgment, subject only to the Bankruptcy Code’s limitations on

paying prepetition claims as the same may be modified by any order of the Court authorizing such

payments. The Diocese further request that the hearing to consider entry of the Final Order be

held no later than thirty (30) days after the Petition Date.

                     WAIVER OF NOTICE AND STAY REQUIREMENTS

         24.      To implement the foregoing successfully, the Diocese seeks a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and any stay of an order granting the relief requested

herein pursuant to Bankruptcy Rules 6004(h), 7062, 9014 or otherwise.




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                                  RESERVATION OF RIGHTS

         25.   Nothing in this Motion, nor any payment made pursuant to the relief sought herein,

if granted, is intended or should be construed as an admission as to the validity, priority or amount

of any claim against the Diocese, a waiver of the Diocese’s right to dispute any claim or an

approval or assumption of any agreement, contract or lease under section 365 of the Bankruptcy

Code and the Diocese expressly reserves its rights with respect thereto.

                                              NOTICE

         26.   Notice of this Motion will be given to (i) the Office of the United States Trustee for

the Northern District of New York, (ii) counsel for NBT (iii) the Diocese’s twenty (20) largest

unsecured creditors as set forth in the list filed with the Diocese’s petition, and (iv) all required

governmental agencies. In light of the nature of the relief requested herein, the Diocese submits

that no further notice is required.

                                       NO PRIOR REQUEST

         27.   The Diocese has not previously sought the relief requested herein from this or any

court.




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          WHEREFORE, the Diocese respectfully requests that the Court enter interim and final

orders, substantially in the forms attached hereto as Exhibits A and B respectively, granting the

relief requested herein and granting such other and further relief as the Court deems just and

proper.

Dated: July 17, 2023                                BOND, SCHOENECK & KING, PLLC


                                                    By:     /s/ Charles J. Sullivan
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